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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

DAVID MARTINEZ,
and all others similarly situated,

      Plaintiffs,
v.                                            C.A. No.: 5:20-cv-295
                                                    COLLECTIVE ACTION
QUALITY CARRIERS, INC.,

     Defendant.
__________________________________/

               COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, DAVID MARTINEZ (hereinafter sometimes referred to as

“Plaintiff”), and others similarly situated, by and through his undersigned counsel,

sues Defendant, QUALITY CARRIERS, INC. (hereinafter sometimes referred to as

“Defendant”), and in support thereof states as follows:

                                 INTRODUCTION

      1.      This is a collective action by Plaintiff, and others similarly situated,

against his employer for unpaid wages pursuant to the Fair Labor Standards Act, as

amended, 29 U.S.C. § 201, et seq. Plaintiff seeks damages for unpaid overtime,

liquidated damages, and a reasonable attorney’s fee and costs.

                                     JURISDICTION

      2.      This claim is properly before this Court pursuant to 28 U.S.C. § 1331,

since this claim arises under federal law, and by the private right of action conferred
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in 29 U.S.C. § 216(b).

                                       VENUE

      3.      Venue is proper in this district under 28 U.S.C. § 1391(b)(1) because

Defendant, QUALITY CARRIERS, INC., has offices Bexar County, Texas.

                                  THE PARTIES

      4.      Plaintiff is an individual residing in Bexar County, Texas.

      5.      Plaintiff, DAVID MARTINEZ, was employed by Defendant from

February 27, 2019, to February 3, 2020, as a “Driver.” Plaintiff’s principle duties

were to haul refinery remnants for oil and gas customers located solely within the

state of Texas.

      6.      Defendant, QUALITY CARRIERS, INC., is a corporation existing

under the laws of the State of Illinois and maintains offices in San Antonio, Texas.

      7.      Defendant, QUALITY CARRIERS, INC., operates a company that

primarily operates a logistics and trucking business and is an employer as defined

by 29 U.S.C. § 203(d).

      8.      Defendant, QUALITY CARRIERS, INC., has employees subject to the

provisions of 29 U.S.C. § 206 in the facility where Plaintiff was employed.

      9.      At all times material to this complaint, Defendant, QUALITY

CARRIERS, INC., employed two or more employees and had an annual dollar

volume of sales or business done of at least $500,000.00.
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      10.    At all times material to this complaint, Defendant, QUALITY

CARRIERS, INC., was an enterprise engaged in interstate commerce, operating a

business engaged in commerce or in the production of goods for commerce as

defined by § 3(r) and 3(s) of the Act, 29 U.S.C. §§ 203(r)-(s).

      11.    At all times material to this Complaint, Defendant was the employer of

the Plaintiff, and others similarly situated (hereinafter “Class”), and, as a matter of

economic reality, the Class was dependent upon Defendant for their employment.

      12.    The Class members were individually engaged in commerce and

produced goods for commerce and their work was directly and vitally related to the

functioning of Defendant’s business activities. Specifically, the Class performed

work relating to the production of oil and gas products for interstate commerce.

            VIOLATION OF THE OVERTIME PROVISIONS OF
                 THE FAIR LABOR STANDARDS ACT

      13.    The Class members are similarly situated, as they all 1) hauled refinery

remnants for oil and gas customers solely within the state of Texas; 2) did not hold

positions considered as exempt under the FLSA; and, 3) were paid on a percentage

per load basis.

      14.    All of the materials and goods hauled by Class members originated

within the state of Texas either because they were manufactured within the state of

Texas or because they had come to rest in the state of Texas at the business locations

where Class members picked up their loads.
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      15.    All materials and goods hauled by Class members came to rest within

the state of Texas or were further refined or altered to such an extent that the

materials and goods were a different product.

      16.    During Class members’ job interviews and/or training, Defendant

informed Class members that they would only be performing jobs requiring travel

within the state of Texas.

      17.    None of the Class members had an understanding that they would be

called upon to travel outside of the state of Texas while performing duties for

Defendant.

      18.    Class members were never informed by Defendant that their driving

duties might subject them to interstate travel.

      19.    Class members were part of a separate and distinct department within

Defendant’s organization which handed the hauling of refinery remnants for oil and

gas customers within the state of Texas.

      20.    Class members always drove the same or similar type of truck and were

always assigned jobs requiring travel solely within the state of Texas.

      21.    Class members never hauled anything but refinery remnants that

originated within the state of Texas either because they were quarried within the

state of Texas or because they had come to rest in the state of Texas at the business

locations where the picked up their loads.
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      22.     Throughout the employment of Plaintiff and others Class members

Defendant repeatedly and willfully violated Sections 7 and 15 of the Fair Labor

Standards Act by failing to compensate Class members at a rate not less than one

and one-half times their regular rates of pay for each hour worked in excess of 40 in

a workweek.

      23.     Specifically, Class members were never paid any overtime for the work

in excess of 40 hours in a workweek.

      24.     The work schedules for the Class members required them to work in

excess of 40 hours in a workweek on a regular and recurring basis during numerous

workweeks.

      25.     Pending any modifications necessitated by discovery, Plaintiff

preliminarily defines this Class as follows:

      ALL CURRENT OR FORMER EMPLOYEES OF QUALITY
      CARRIERS, INC. WHO WERE EMPLOYED AS DRIVERS AT
      QUALITY CARRIERS, INC.’s SAN ANTONIO, TEXAS,
      TERMINAL FROM MARCH 11, 2017 TO THE PRESENT.

      26.     This action is properly brought as a collective action for the following

reasons:

      a.      The Class is so numerous that joinder of all Class Members is
              impracticable.

      b.      Numerous questions of law and fact regarding the liability of
              Defendants, are common to the Class and predominate over any
              individual issues which may exist.
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      c.      The claims asserted by Plaintiff are typical of the claims of Class
              Members and the Class is readily ascertainable from Defendants’ own
              records. A class action is superior to other available methods for the fair
              and efficient adjudication of this controversy.

      d.      Plaintiff will fairly and adequately protect the interests of Class
              Members. The interests of Class Members are coincident with, and
              not antagonistic to, those of Plaintiff. Furthermore, Plaintiff is
              represented by experienced class action counsel.

      e.      The prosecution of separate actions by individual Class Members
              would create a risk of inconsistent or varying adjudications with respect
              to individual Class Members which would establish incompatible
              standards of conduct for Defendant.

      f.      The prosecution of separate actions by individual Class Members
              would create a risk of adjudications with respect to individual Class
              Members which would, as a practical matter, be dispositive of the
              interests of the other Class Members not parties to the adjudications or
              substantially impair or impede their ability to protect their interests.

      g.      Defendant acted on grounds generally applicable to the Class, thereby
              making appropriate final injunctive relief with respect to the Class as a
              whole.

      27.     For the foregoing reasons, Plaintiff seeks certification of an FLSA “opt-

in” collective action pursuant to 29 U.S.C. §216(b) for all claims asserted by Plaintiff

because his claims are nearly identical to those of other Class Members. Plaintiff

and Class Members are similarly situated, have substantially similar or identical job

requirements and pay provisions, and are subject to Defendant’s common practice,

policy or plan regarding employee wages and hours.

      28.     In addition to the named Plaintiff, numerous employees and former

employees of Defendant are similarly situated to Plaintiff in that they have been
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denied overtime compensation while employed by Defendant.

       29.    Defendants’ policy of not properly paying overtime is company-wide

and “Drivers,” throughout the State of Texas, employed by Defendant during the

three years prior to the filing of this action have been deprived of overtime, similarly

to the Plaintiff.

       30.    Plaintiff is representative of these other employees and is acting on

behalf of their interests as well as Plaintiff’s own interests in bringing this action.

       31.    Defendant either knew about or showed reckless disregard for the

matter of whether its conduct was prohibited by the FLSA and failed to act diligently

with regard to its obligations as an employer under the FLSA.

       32.    Defendants failed to act reasonably to comply with the FLSA, and so

Plaintiff, and all others similarly situated, are entitled to an award of liquidated

damages in an equal amount as the amount of unpaid overtime pay pursuant to 29

U.S.C. § 216(b).

       33.    The acts described in the above paragraphs violate the Fair Labor

Standards Act, which prohibits the denial of overtime compensation for hours

worked in excess of 40 per workweek.

       34.    As a result of Defendants’ unlawful conduct, Plaintiff and all others

similarly situated are entitled to actual and compensatory damages, including the

amount of overtime which was not paid that should have been paid.
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       35.     Plaintiff and all others similarly situated are entitled to an award of

reasonable and necessary attorneys’ fees, costs, expert fees, mediator fees and out-

of-pocket expenses incurred by bringing this action pursuant to 29 U.S.C. § 216(b)

and Rule 54(d) of the Federal Rules of Civil Procedure.

       WHEREFORE, Plaintiff, DAVID MARTINEZ, and all others similarly

situated, demand Judgment against Defendant for the following:

       a.      Determining that the action is properly maintained as a class and/or
               collective action, certifying Plaintiff as the class representative, and
               appointing Plaintiff’s counsel as counsel for Class Members;

       b.      Ordering prompt notice of this litigation to all potential Class Members;

       c.      Awarding Plaintiff and Class Members declaratory and/or injunctive
               relief as permitted by law or equity;

       d.      Awarding Plaintiff and Class Members their compensatory damages,
               service awards, attorneys’ fees and litigation expenses as provided by
               law;

       e.      Awarding Plaintiff and Class Members their pre-judgment, moratory
               interest as provided by law, should liquidated damages not be awarded;

       f.      Awarding Plaintiff and Class Members liquidated damages and/or
               statutory penalties as provided by law;

       g.      Awarding Plaintiff and Class Members such other and further relief as
               the Court deems just and proper.

                                  JURY TRIAL DEMAND

       Plaintiff, DAVID MARTINEZ, and others similarly situated, demands a jury

trial on all issues so triable.
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Respectfully submitted this March 11, 2020.



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